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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

AUDRA MITCHELL-SLAPPY,                               Civil Action No.

     Plaintiff,

v.                                                   JURY TRIAL DEMANDED


BENEVIS, LLC and PSBB, PC,

     Defendants.



                         COMPLAINT FOR DAMAGES

        COMES NOW, Audra Mitchell-Slappy (“Plaintiff” or “Ms. Mitchell-

Slappy”), and files this Complaint against Defendants Benevis, LLC and PSBB,

PC (“Defendants”), and shows the following:

                        I.    NATURE OF COMPLAINT

                                          1.

        Plaintiff brings this action for damages, liquidated damages, and reasonable

attorney fees for Defendants’ violation of her rights under Title VII of the Civil

Rights Act of 1964, as amended, 42 U.S.C. § 2000e (“Title VII”).
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                   II.      ADMINISTRATIVE PROCEDURES

                                         2.

      Plaintiff has fulfilled all conditions necessary to proceed with this cause of

action under Title VII. Plaintiff filed her Charges of Discrimination with the

EEOC on April 21, 2021.

                                         3.

      The EEOC issued the “Notice of Right to Sue” on each Charge on June 11,

2021, entitling an action to be commenced within ninety (90) days of receipt of

that notice.

                                         4.

      Plaintiff timely files this action within ninety (90) days of receipt of the

Notice of Right to Sue from the EEOC.

                     III.    JURISDICTION AND VENUE

                                         5.

      Plaintiff invokes the jurisdiction of this court pursuant to 28 U.S.C. §§ 1331

and 1343.




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                                           6.

       Defendants are qualified to do business in this district. In addition, the acts

and omissions that give rise to Plaintiff’s claims occurred in this district.

Accordingly, venue in this Court is proper pursuant to 29 U.S.C. §1391.

                                  IV.   PARTIES

                                           7.

       Plaintiff is a female citizen of the United States of America and is subject to

the jurisdiction of this Court.

                                           8.

       At all times relevant Defendants were qualified and licensed to do business

in Georgia, and at all times material hereto have conducted business within this

District.

                                           9.

       Defendant Benevis, LLC (“Defendant Benevis”) is now and, at all times

relevant hereto, has been a foreign limited liability company.      During all times

relevant hereto, Defendant has employed fifteen (15) or more employees for the

requisite duration under Title VII. Defendant is therefore covered under Title VII

in accordance with 42 U.S.C. § 2000e(b).




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                                         10.

      Defendant Benevis may be served with process by delivering a copy of the

summons and complaint to its corporate Registered Agent, CT Corporation

System, located at 289 S. Culver Street, Lawrenceville, GA 30046.

                                         11.

      Defendant PSBB, PC (“Defendant PSBB”) is now and, at all times relevant

hereto, has been a foreign profit corporation. During all times relevant hereto,

Defendant has employed fifteen (15) or more employees for the requisite duration

under Title VII. Defendant is therefore covered under Title VII in accordance with

42 U.S.C. § 2000e(b).

                                         12.

      Defendant PSBB may be served with process by delivering a copy of the

summons and complaint to its corporate Registered Agent, CT Corporation

System, located at 289 S. Culver Street, Lawrenceville, GA 30046.

                        V.   FACTUAL ALLEGATIONS

                                         13.

      Ms. Mitchell-Slappy began working for Defendants on or about February 2,

2021, as a Registered Dental Hygienist at Family Dentistry Decatur.




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                                        14.

      On February 17, 2021, Ms. Mitchell-Slappy was told that she was being

transferred to Sandy Springs Dental Associates, another office owned by

Defendants.

                                        15.

      On Ms. Mitchell-Slappy’s second day at the new office, the dentist, Dr. Dan

Meyer, made an inappropriate comment about Ms. Mitchell-Slappy’s breasts.

                                        16.

      Dr. Meyer also advised that Ms. Mitchell-Slappy could not wear clothing

that drew attention to her figure.

                                        17.

      Ms. Mitchell-Slappy was not dressed unprofessionally or inappropriately.

                                        18.

      On March 5, 2021, Ms. Mitchell-Slappy sent an email to Regional Manager

Patricia Goodman, complaining about the sexually harassing and gender

discriminatory comments made by Dr. Meyer.

                                        19.

      Less than a week later, on March 9, 2021, Defendants terminated Ms.

Mitchell-Slappy’s employment.


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                                            20.

      Prior to Ms. Mitchell-Slappy’s complaint, feedback concerning Plaintiff’s

work performance had been positive.

                                            21.

      Defendants failed to take any action to investigate Plaintiff’s complaint of

discrimination.

                                            22.

      Although Defendants purport to provide a legitimate non-discriminatory

reason for the adverse action, this reason is a pre-text.

                                            23.

      Others outside of the Ms. Mitchell-Slappy’s protected class, i.e. employees

who did not complain of gender based discrimination and/or harassment, were

treated differently.

                           VI.   CLAIMS FOR RELIEF

    COUNT ONE: DISCRIMINATION IN VIOLATION OF TITLE VII

                                            24.

      Plaintiff re-alleges paragraphs 13-23 as if set forth fully herein.




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                                           25.

      Defendants’ actions in subjecting Plaintiff to gender discrimination

constitutes unlawful discrimination on the basis of Plaintiff’s gender in violation of

Title VII.

                                           26.

      Defendants willfully and wantonly disregarded Plaintiff’s rights, and their

discrimination against Plaintiff was undertaken in bad faith.

                                           27.

      The effect of the conduct complained of herein has been to deprive Plaintiff

of equal employment opportunity, and to otherwise adversely affect her status as

an employee because of her gender and/or protected activity.

                                           28.

      As a direct and proximate result of Defendants’ violation of Title VII,

Plaintiff has been made the victim of acts that have adversely affected her

psychological and physical well-being.

                                           29.

      Accordingly, Defendants are liable for the damages Plaintiff has sustained as

a result of Defendants’ unlawful discrimination and retaliation.




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                COUNT TWO: RETALIATION IN VIOLATION OF
                 TITLE VII OF THE CIVIL RIGHTS ACT OF 1964

                                           30.

      Plaintiff re-alleges paragraphs 13-23 as if set forth fully herein.

                                           31.

      Defendants’ actions, as detailed above, in retaliating against Plaintiff

because of her protected activity (complaining of harassment and/or discrimination

on tbe basis of her gender) constitutes unlawful intentional retaliation in violation

of Title VII.

                                           32.

      Defendants willfully and wantonly disregarded Plaintiff’s rights, and

Defendants’ retaliation against Plaintiff was untertaken in bad faith.

                                           33.

      Accordingly, Defendants are liable for the damages Plaintiff has sustained as

a result of Defendants’ unlawful retaliation.

                          VII. PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully requests that this Court:

      (a)           Back pay and liquidated damages;

      (b)           General damages for mental and emotional suffering caused by

                    Defendants’ misconduct;

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      (c)          Punitive damages based on Defendants’ willful, malicious,

                   intentional,   and     deliberate   acts,   including   ratification,

                   condonation and approval of said acts;

      (d)          Reasonable attorney’s fees and expenses of litigation;

      (e)          Trial by jury as to all issues;

      (f)          Prejudgment interest at the rate allowed by law;

      (g)          Declaratory relief to the effect that Defendants have violated

                   Plaintiff’s statutory rights;

      (h)          Injunctive relief of reinstatement, or front pay in lieu thereof,

                   and prohibiting Defendants from further unlawful conduct of

                   the type described herein; and

      (i)          All other relief to which she may be entitled.

      Respectfully submitted the 3rd day of September, 2021.

                                         BARRETT & FARAHANY

                                         s/ Adian R. Miller
                                         Adian R. Miller
                                         Georgia Bar No. 794647

                                         Attorney for Audra Mitchell-Slappy

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